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                                     THO M AS W. YOUNG, MD, FAAFS, FASCP , FCAP
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Jack Fisher, Esq.
Hightower Building, Oklahoma City, Oklahoma
PO Box 1976
Edmond, OK 73083-1976

Re: OK v. Zachary Cobb

Dear Mr. Fisher:

In accordance with your request I read the Charging Document for this case, records from
the Air Evac Lifeteam, birth records from South Crest Hospital, medical records from St.
Francis Hospital including the report of Nichole G. Wallace MD, records from the Children's
Center, and transcripts of the court testimonies of neurosurgeon Dan Boedecker and child
abuse pediatrician Nichole Wallace.

The following are my opinions made to a reasonable degree of medical certainty.

Any scientist or physician offering testimony in a courtroom can validly say with reasonable
certainty what can happen in general according to observation-based science or what could
have happened in a particular case, but medical and scientific experts like myself cannot
validly claim to be reasonably certain of what did happen in a particular case. Persons who
directly witnessed what happened or persons who watched a recording of those events are
the only ones who can know for certain what happened.

The defendant, Zachary Cobb, directly witnessed the events that took place with five-
month-old Loki Cobb. According to the report written by Major Gary Handley in the
Charging Document:

      I began by interviewing Zachary Cobb in my patrol vehicle. Zachary stated that
      when he had been feeding the infant formula and the child began to choke. He
      stated he then repositioned the child and resumed the feeding, but the child
      began to choke again. Zachary suspected the formula was too thin. Zachary
      then noticed the infant, was not breathing. He stated that he was certified in
      infant CPR and that he rushed the child to the sink and ran water over the child,
      then placed ice in on the child in hopes of getting him breathing. As these efforts
      failed, Zachary then attempted CPR on the child on the counter, on the floor, and
      outside on the driveway until EMS arrived.

Later in the hospital, health care providers discovered in the child acute and chronic
bilateral subdural hematomas, bilateral retinal hemorrhages, and progressively worsening
cerebral edema (brain swelling). Loki required two surgical interventions to treat the
subdural hematomas; unfortunately, he developed global brain damage for which he now




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undergoes rehabilitative therapy.

It is my opinion, made to a reasonable degree of medical certainty, that the witness account
of Zachary Cobb as recorded by Major Gary Handley could have happened in the fashion
described. There is nothing in that account that is inconsistent with the medical outcome.
Since the turn of the millennium, physicians and pathologists in the United Kingdom have
had the opportunity to observe infants in the hospital setting develop subdural
hemorrhages outside the setting of trauma. Stillborn fetuses they examined also had
similar subdural hemorrhages present without a history of trauma. Many of the living
infants and even small children up to three years of age required respirators to breathe.
Many of them during their hospital course developed issues with hypoxia - a medical term
meaning "lack of oxygen" - while under treatment for natural disease.
Academic neuropathologists in the United Kingdom not only autopsy children in the
medical care setting but they also perform autopsies for the coroner, including autopsies of
children with alleged shaken baby syndrome. This is a setting and opportunity unlike most
places in the United States. These doctors found that the subdural hemorrhages in the
hospitalized infants and small children not associated with trauma were identical in
appearance to the subdural hemorrhages in alleged shaken baby cases.
Physicians and other scientists have observed and documented the consequences of brain
damage and cerebral edema from a lack of oxygen (hypoxia) and a lack of blood flow
(ischemia) for many years, and documented cases of infantile subdural hemorrhage
associated with a lack of oxygen without trauma continue to grow. In a review article on
this topic in 2009, the authors state, "SDH is seen in hypoxic infants in daily pathological
practice ..."1. SDH is an abbreviation for "subdural hemorrhage." Doctors have documented
this association even more extensively in recent years23 . The evidence scientifically is clear:
subdural hemorrhages can happen in the setting of hypoxia and ischemia without trauma.
Retinal hemorrhages can also occur in an infant without trauma. An observational autopsy
study of 123 cases performed in Dallas County, TX, amply demonstrated that4. Cerebral
edema and complications following advanced cardiac life support were the common factors
in these cases. Both sets of complications were factors with Loki Cobb.

1Squier W, Mack J. The neuropathology of infant subdural haemorrhage. Forensic Science International
2009 May 30;187(1-3):6-13.
2Cohen MC, Sprigg A, Whitby EH. Subdural hemorrhage, intradural hemorrhage and hypoxia in the
pediatric and perinatal post mortem: Are they related? An observational study combining the use of post
mortem pathology and magnetic resonance imaging . Forensic Science International 2010 Jul
15;200(1-3):100-7.
3 Scheimberg I, Cohen MC, Zapata Vasquez RE, Dilly S, Adnani MA, Turner K, Sethuraman C.
Nontraumatic intradural and subdural hemorrhage and hypoxic ischemic encephalopathy in fetuses,
infants, and children up to three years of age: analysis of two audits of 636 cases from two referral
centers in the United Kingdom. Pediatric and Developmental Pathology 2013 May-Jun;16(3):149-59.
4 Matshes E. Retinal and Optic Nerve Sheath Hemorrhages Are Not Pathognomonic of Abusive Head
Injury. Proceedings of the American Academy of Forensic Sciences, 2010.


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Defendant Zachary Cobb described Loki Cobb as an infant who developed spells of choking
and non-breathing. Such spells are called Apparent Life-threatening Events (ALTE) -
spells that can occur in infants, often for unexplained reasonss. Episodes of non-breathing
can lead to hypoxia and even to subdural hemorrhages outside the setting of trauma. There
is even a report of a child with an Apparent Life-threatening Event developing subdural and
retinal hemorrhages without an account or evidence of trauma6. Observational medical
literature supports that choking episodes and hypoxia associated with cerebral edema,
subdural hemorrhages and retinal hemorrhages can happen and what happened to Loki
Cobb as described by the defendant could have happened.
We can explain mechanism for retinal hemorrhages and subdural hemorrhages in this case
and other cases like it by what we know can happen physiologically in an infant. The infant
dura is rich in venous blood channels, unlike the dura of an older person. These venous
channels are abundant in the developing fetus and infant but they later disappear as the
child gets older and becomes an adult. If a child is deprived of oxygen for a period of time,
the heart beat slows down and there is less blood flow to these venous channels. Once
oxygen is restored, the channels that were deprived of the oxygen needed to maintain their
integrity will leak once blood flow to these channels is restored. Bleeding that starts in the
dural membrane eventually oozes to the subdural compartment below the membrane. If
there is more than one hypoxic episode as there often is in infants with ALTE, the bleeding
and oozing can age and look chronic as well as acute, as in Loki Cobb's case. The same can
be said of hypoxic retinal blood vessels. Brain swelling further causes further stagnation
and hypoxia in these vessels because the arteries and veins that supply blood to and drain
from the retinas pass through the same space in the head occupied by the swelling brain,
The increasing pressure from the swelling brain further impairs and stagnates blood flow.
Also, a lack of oxygen for a period of time can lead to temporary derangements in the body's
ability to clot blood; consequently, aggressive handling of the child during a resuscitation
can lead to diffuse bruises in his body.
Child abuse pediatricians like Dr. Nichole Wallace and many others who are trained like her
refuse to accept that hypoxia can lead to subdural hemorrhages, retinal hemorrhages, and
brain damage outside of the setting of trauma. They choose to presume negatively. They
presume that eyewitnesses are not truthful and observational science performed over
many years is not truthful. Presuming negatively does not lead to any useful conclusion,
and this is easily demonstrated: We may accept that 1+1 =2, but if we presume that one is
not added to one, we will never learn the sum. This is because one not being added to one
can lead to a sum of two or a sum that is not two - in other words, a sum that could be
anything. In the same way, when Dr. Wallace presumes that Zachary Cobb is not being
truthful or that scientific observations of hypoxic complications that look like the shaken
baby syndrome are not truthful, she makes herself unable to learn anything.


5Hall KL, Zalman B. Evaluation and Management of Apparent Life-Threatening Events in Children.
American Family Physician 2005;71 :2301 -2308.

6Barnes PD, Galaznik J, Gardner H, Shuman M. Infant acute life-threatening event- dysphagic choking
versus nonaccidental injury. Seminars in Pediatric Neurology 2010 Mar;17(1):7-11.


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Dr. Wallace insisted in her report and in her court testimony that trauma is the only cause
of the complications noted in Loki Cobb. This is apparent in the Impression section of her
report:

        IMPRESSION: Loki is a 5-month-old child who has bilateral subdural hematomas
        that are both acute and chronic. He also has bilateral multilayered retinal
        hemorrhages and (upon admission) diffuse bruises on his body. No appropriate
        trauma history has been provided to explain either his subdural hemorrhages or
        his bruises. The constellation of clinical findings in this case are diagnostic of
        abusive head trauma. This child appears to have sustained at least 2 episodes
        of head trauma that account for the differential timing of his subdural
        hemorrhages.

Since there was no account of trauma sufficient to cause global brain damage and
numerous hemorrhages, than abusive head trauma had to have happened according to Dr.
Wallace. This is a confused conclusion - one where she claims to know what did happen in
the case of Loki Cobb because nothing else but trauma, according to her, could cause the
changes seen in Loki Cobb.

Dr. Wallace is not the only physician to presume negatively like this; many of our physician
colleagues do the same thing - particularly when it comes to the hypoxia issue. An
illustration of this is a paper published in 2007 that claimed that there was a "lack of
evidence" for a causal relationship between hypoxia/ischemia and subdural hemorrhage in
fetuses, infants and small children 7. This study reviewed cases from pathologists all over
the world and saw no case where hypoxia caused subdural hemorrhages. An examination
of the Materials and Methods section of the report disclosed that the authors removed all
cases of cranial trauma. Since trauma is presumed by these pathologists to be the cause of
subdural hemorrhages, hypoxia cases associated with subdural hemorrhage would have
been removed from consideration, leaving only cases where hypoxic-ischemic changes in
the brain were not accompanied by subdural hemorrhage. This circular argument problem
- a problem where one accepts as a premise the very item that is concluded - would
explain why they found no case where hypoxia was associated with subdural hemorrhage
in spite of the observations of many others that "SDH is seen in hypoxic infants in daily
pathological practice."

The flawed 2007 study is one example of many studies in the child abuse literature with
circular argument problems - where what is already believed is concluded. Dr. Wallace
and many others like her ascribe to the idea that a doctor can look at a child and "diagnose"
child abuse or abusive head trauma - essentially determine what did happen even though
what is asserted to have happened was never seen by anyone, including the doctor. These
assertions are beliefs without an observational basis. Such beliefs are supported in a


7Byard RW, Blumbergs P, Rutty G, Sperhake J, Banner J, Krous HF. Lack of Evidence for a Causal
Relationship Between Hypoxic-lschemic Encephalopathy and Subdural Hemorrhage in Fetal Life, Infancy,
and Early Childhood. Pediatric and Developmental Pathology 2007;10:348-350.


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circular fashion and reinforced by literature article after literature article.

Dr. Wallace asserted such beliefs in her testimony on pages 444 and 445:

       Shaken baby syndrome essentially is a constellation or a group of injuries that
       kids often present with after they have had an abusive head trauma event. And
       typically that involves a type of shaking mechanism so often these kids have
       been shaken. Sometimes there has been an impact. An impact can be a soft
       surface or a hard surface. So a kid might get shaken and then thrown onto their
       crib mattress, or shaken and their head slammed on the crib frame. So we know
       that typically there is a shaking mechanism involved and then there may or may
       not be an impact component to that.

Unlike the hypoxia association described earlier in this report which has been observed by
scientists on multiple occasions over multiple years, none of what she said in the paragraph
above has ever been observed by any scientist or physician. Scientists do not abuse babies
to test and observe what will happen, nor are they ever present when babies are being
traumatized and abused. The beliefs above and other beliefs offered in her testimony are
essentially beliefs in the unseen - beliefs that are more like religious faith rather than
observational or evidence-based science, beliefs to which she strenuously adheres.
According to page 503 of the court transcript, while she was under cross-examination, Dr.
Wallace once again asserted what she believed did happen:

   • Q. And that's because that is your opinion that this had to be -  I mean, you've
     made your mind up and you are not open to anything else. This had to have been
     shaken. That is what you think, isn't it, that the child was shaken?
   • A. Ultimately, yes. That is my opinion.

Such beliefs can also be misleading when applied to the Loki Cobb case. One belief is that
shaking a baby tears bridging veins (page 449 of the transcript) - relatively large veins
that bridge between veins on the surface of the brain and the dural sinus that collects
venous blood. A torn bridging vein can lead to rapid bleeding, and such bleeding was noted
during a second neurosurgical procedure after a first neurosurgical procedure had been
performed. In his testimony, Dr. Boedecker chose to blame abusive head trauma rather
than admit that the first neurosurgical procedure could have torn the bridging vein (pages
548 and 551 of the transcript).

As strange as it may seem for a scientist to insist on her beliefs in spite of evidence to the
contrary, I understand why she needs to do this. My own experience as a medical examiner
informs my understanding: No doctor maintains a good reputation or even keeps his or her
job for long by being wrong on critically important issues that can damage someone's life
and reputation. Defending her position in spite of evidence to the contrary is something
she has to do, particularly if she has offered similar testimony many times in the past.
Furthermore, we admire our teachers and colleagues, and it often takes extraordinary
measures for the majority of us to go contrary to what our teachers and colleagues believe.



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Not only do issues like diagnosing abusive head trauma and shaken baby syndrome affect
individual medical experts testifying in court but they also affect medical organizations like
the American Academy of Pediatrics who offer position papers supporting tenets of abusive
head trauma and shaken baby syndrome8 . This organization and others like it need to
protect the good standing of their members. Political issues unfortunately often trump
scientific ones. Consequently, there is a resistance to change and to re-evaluating previous
policy.

Unfortunately, this does not help matters in the courtroom where judges, attorneys and
juries depend on medical and scientific experts to be fair and open-minded. Too often,
judges, attorneys and juries fail to discern how the limitations of valid science have been
exceeded by negative, close-minded doctors.

Respectfully submitted,



Thomas W. Young, MD




8Christian CW, Block R, Committee on Child Abuse and Neglect. Abusive Head Trauma in Infants and
Children. Pediatrics 2009 May;123(5):1409-1411.


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                                   CURRICULUM VITAE

                              THOMAS WILLIAM YOUNG, M.D.



  PERSONAL DATA:

  Birthdate:                  June 12, 1956

  Birthplace:                 La Mesa, California


  PROFESSIONAL POSITION:

                              Heartland Forensic Pathology, LLC (private practice)
                              12717 Oakmont Drive
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  ACADEMIC RECORD:

  College:                    Loma Linda University
                              College of Arts and Sciences
                              Riverside, California
                              October 1974 - June 1977

  Medical School:             Loma Linda University
                              School of Medicine
                              Loma Linda, California
                              September 1977 - November 1980
                              Bachelor of Science (Human Biology) and
                              Medical degrees awarded on November 30, 1980

  Internship and Residency:   Anatomic and Clinical Pathology
                              Loma Linda University Medical Center and Jerry L. Pettis
                              Memorial Veterans Administration Hospital
                              Loma Linda, California
                              January 1981 - December 1984

  Fellowship:                 Forensic Pathology
                              Office of the Medical Examiner, Fulton County (Program
                              affiliated with Emory University, School of Medicine)
                              Atlanta, Georgia
                              July 1988 - June 1989




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  BOARD CERTIFICATION:

                         Diplomate-National Board of Medical Examiners
                         January 2, 1982

                         Diplomate-American Board of Pathology
                               Anatomic and Clinical Pathology - May 31, 1985
                               Forensic Pathology - September 25, 1989

  MEDICAL LICENSURE:

                         Missouri—MD108989
                         Kansas—04-32417
                         Georgia—030931 (inactive)

  PROFESSIONAL ACTIVITIES:

                         Heartland Forensic Pathology, LLC (private practice)
                         Kansas City, Missouri
                         January 2007 – Present

                         Review Board, The American Investigative Society of Cold
                         Cases (AISOCC)
                         June 2013 – Present

                         Jackson County Medical Examiner
                         Kansas City, Missouri
                         July 1995 – December 2006

                         Medical Examiner, Platte County Missouri
                         July 1995 – December 2006

                         Medical Examiner, Clay County Missouri
                         April 1996 – December 2006

                         Medical Examiner, Cass County Missouri
                         January 2004 – December 2006

                         Director, Office of the Jackson County Medical Examiner
                         Forensic Pathology Training Program
                         July 2002 – December 2006



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                          Clinical Associate Professor
                          University of Missouri-Kansas City School of Medicine
                          September 1997 – December 2006

                          Forensic Pathologist, National Disaster Medical System
                          (DMORT - 7)
                          United States Department of Homeland Security
                          October 1996 – March 2006

                          Participated in Federal Disaster Response involving
                          Korean Airlines Flight 801, Guam
                          August 1997

                          Associate Medical Examiner, Fulton County
                          Atlanta, Georgia
                          July 1989 - June 1995

                          Assistant Professor of Pathology,
                          Emory University School of Medicine
                          August 1994 - June 1995

                          Clinical Assistant Professor of Pathology,
                          Emory University School of Medicine
                          July 1991 - August 1994

                          Medical Examiner for Division of Forensic Sciences,
                          Georgia Bureau of Investigation
                          Decatur, Georgia
                          July 1989 - June 1995

                          Chief, Anatomic Pathology
                          Ehrling Bergquist Strategic Hospital
                          Offutt Air Force Base, Nebraska
                          January 1985 - May 1988

                          Medical Director, Phase II
                          Laboratory Technician Training Program
                          Ehrling Bergquist Strategic Hospital
                          Offutt Air Force Base, Nebraska
                          January 1985 - May 1988




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                            Major, Active Duty
                            United States Air Force Medical Corps
                            January 1985 - May 1988


   PROFESSIONAL MEDICAL SOCIETIES:

              Alpha Omega Alpha Honor Medical Society (1980)
              American Society of Clinical Pathologists (1983; Fellow 1985)
              College of American Pathologists (Fellow 1985)
              American Academy of Forensic Sciences (1989; Fellow 2003)
              National Association of Medical Examiners (1989; Fellow)


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         18.   Young TW. Fatal Bronchial Asthma With Bilateral Lung Collapse. Am J
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         20.   Young TW. Putting It All Together: The Logic Behind the Forensic
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               http://www.heartlandforensic.com/writing/putting-it-all-together-the-
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               1990.

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               Cocaine. An Assessment by Survey. Presented at the 43rd Annual
               Meeting of the American Academy of Forensic Sciences, Anaheim,
               California, February 1991.

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               Liquefying Agent for Chemical Analysis of Vitreous Fluid. Presented at
               the Annual Meeting of the Society of Forensic Toxicologists, October
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         13.   Gill TH, Young TW, Willard MJ, Garg U, and Dasuki M: Fatty Oxidation
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         15.   Young TW, Brasfield R, and Gill TH: Catch-22 No More! Twenty-two
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         16.   Young TW: Forensic Science and the Scientific Method. Presented at the
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         20.    Young TW: What Every Pathologist Should Know About Forensic
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         22.    Young TW: The Most Significant Fallacy of Modern Science. Presented
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         23.    Young TW: A Little Lesson in Logic. Presented at the World Forensic
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         April 6, 2015




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